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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NASSAU

MICHAEL ENGELBERG, derivatively on behalf of the
American Center for Civil Justice, Inc.,

                              Plaintiff,                          Index No. 606919/2014
                         -against-                                IAS Part 1
                                                                  (Justice Bucaria)
ELIEZER PERR, JEDIDIAH PERR, MILTON
POLLACK, and THE AMERICAN CENTER FOR
CIVIL JUSTICE, RELIGIOUS LIBERTY AND
                                                                  STIPULATION OF
TOLERANCE, INC.,
                                                                  SETTLEMENT
                              Defendants,

THE AMERICAN CENTER FOR CIVIL JUSTICE,
INC.,

                              Nominal Defendant.

THE NEW YORK CENTER FOR CIVIL JUSTICE,
TOLERANCE & VALUES, INC.,

                              Additional Defendant on
                              the Counterclaims.



       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

parties and their respective counsel, subject to approval by the Court pursuant to N-PCL 623(d),

and in consideration of the benefits flowing from, and as described in, this Stipulation of

Settlement (“Stipulation”), that this action, and the related action in this Court captioned Orlow

v. Engelberg, Index. No. 601689/2016 (the “Orlow Action”), shall be resolved as follows:

       1.      Upon the approval of this Stipulation by the Court, this Action and the Orlow

Action will be discontinued with prejudice and without costs (except as provided herein), subject

to the Court’s continuing jurisdiction with respect to certain matters as provided herein.


                                                   
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        2.      Prior to its submission to the Court for approval, this Stipulation will be presented

to the Charities Bureau, Office of the Attorney General of the State of New York (“OAG”) for

review. The parties agree to consider, in good faith, the amendment of this Stipulation based

upon OAG review; provided, however, that each party retains the right to seek Court approval of

this Stipulation regardless of OAG’s position concerning the terms of this Stipulation.

        3.      To increase administrative efficiencies, better coordinate assisting victims of

terror, and strengthen their charitable and educational activities, the parties agree that it is in their

best interests, and in the public interest, that defendant The American Center For Civil Justice,

Religious Liberty And Tolerance, Inc. (“NJ Center”) be merged with and into nominal defendant

The American Center For Civil Justice, Inc. (“ACCJ”) (the “Merger”). Accordingly, ACCJ and

NJ Center agree to effectuate the Merger, in accordance with Article 9 of the New York Not-for-

Profit Corporation Law (the “NPCL”) and, as to NJ Center, in accordance with any required

provisions of New Jersey law. ACCJ and NJ Center agree to take all necessary steps to ensure

compliance with such legal requirements, including preparing necessary filings with the New

York State Attorney General and/or the Supreme Court of New York State, and obtaining all

required approvals, and to use reasonable best efforts to obtain all necessary third-party

approvals or consents that may be required. The procedures and proceedings necessary to

effectuate the Merger shall be initiated within thirty (30) days of the approval of the Stipulation

by the Court. ACCJ will be the surviving entity and will continue to operate as a New York

State-regulated charitable entity upon completion of the Merger.

        4.      Upon execution of this Stipulation, and prior to completion of the Merger, (a) all

revenues payable to either ACCJ or NJ Center from recoveries in terrorism litigation (including

but not limited to any amounts currently held in escrow for ACCJ by the Peterson Settlement

                                                     
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Trustee, if and when such funds are released) will be placed in a designated ACCJ account; and

(b) NJ Center will not enter into any new material contractual obligations without the written

consent of all parties or the approval of the Court upon notice to all parties.

       5.        Upon completion of the Merger, (a) all rights, duties and obligations of NJ Center

shall by operation of law become rights, duties and obligations of ACCJ, and (b) any charitable

and educational activities of NJ Center will be continued by ACCJ, subject to continuing

oversight and approval by ACCJ’s new Board of Directors.

       6.        In connection with the process of securing OAG approval of this Stipulation,

ACCJ will present corporate governance changes to the OAG, which will include, at a minimum,

the following:

            a. The Board of Directors of ACCJ will be reconstituted in order that it shall have a
               majority of independent directors who are new members (i.e., never having served
               on the Boards of either ACCJ or NJ Center) (the “New Board”). For purposes
               hereof, an “independent director” is any individual who (i) meets the definition of
               “independent director” in Section 102 of the NPCL, and (ii) has no material
               business, personal or financial relationship with any of the existing members of
               the parties or the Board of Directors of ACCJ, NYCCJ or NJCCJ. The
               Chairperson of the New Board will be an independent director.

            b. Upon the election of the New Board, there shall immediately be established an
               Audit and Compliance Committee of the Board, composed of three (3)
               Independent Directors, at least one of whom shall have a professional background
               in accounting or finance. This Committee shall have the mandate and authority to
               select, hire and fire ACCJ’s independent auditor, to create and monitor
               implementation of internal controls, to take measures to ensure that ACCJ and its
               agents and employees comply with applicable laws, and generally to carry out the
               functions set forth in Section 712-a of the NPCL and referred to in the guidance
               document “Internal Controls and Financial Accountability for Not-For-Profit
               Boards” issued by the Charities Bureau of the New York State Attorney General.
               For purposes of the foregoing requirements, and for a period of five years from
               the date hereof, ACCJ shall be deemed to be a corporation required to file an
               independent certified public accountant's audit report with the attorney general
               pursuant to subdivision one of section 172-b of the Executive Law and that, in the
               prior fiscal year had, or in the then-current fiscal year reasonably expects to have,
               annual revenue in excess of seven hundred fifty thousand dollars.

                                                    
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             c. Upon the election of the New Board, ACCJ will establish a reserve fund for future
                claim contingencies, the amount of which will be established by the new Board of
                Directors, with OAG guidance.

       7.       Plaintiff Michael Engelberg (“Engelberg”) consents to defendant Jedidiah Perr

serving as an employee of the post-merger ACCJ entity.

       8.       Upon approval of the Stipulation by the Court, (a) Engelberg will resign as

Attorney-in-Fact for any ACCJ claimants, and will not act under any Power of Attorney

(“POA”) given to him by such claimants, and will advise such claimants of the foregoing in an

agreed-upon joint letter, which will also state that any disputes have been fully resolved, and (b)

defendants Eliezer Perr and Milton Pollack will retire from ACCJ and will have no position in

the surviving ACCJ or any related entity.

       9.       On or before thirty (30) days following the Court’s approval of the Stipulation,

ACCJ and NJ Center shall submit to the Court, and file on NYSCEF, accountings reflecting all

current financial transactions and a report on their progress in effectuating the Merger and the

corporate governance reforms required under this Stipulation. An updated accounting and report

shall be submitted thereafter on a schedule as the Court may direct until such time as the Merger

and corporate governance reforms required hereunder have been completed or as the Court may

otherwise direct.

       10.      Each of ACCJ, NJ Center and The New York Center for Civil Justice Inc. (“NY

Center”) separately represents that all of its assets, and the assets of any related entity, have been

accounted for in the respective accountings it has filed or will file with the Court.  For the

purpose of this paragraph, “related entity” means an entity owned or controlled by the same, or

overlapping, officers, directors or key employees of the entity parties, or any of their immediate

family members. NJ Center agrees that it shall complete and file the accounting required by the

                                                    
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Order dated November 27, 2017 (NYSCEF No. 425) on or before December 15, 2017, as set

forth in that Order, or at a later date as may be approved by the Court.

       11.     ACCJ and NJ Center each represents that it has disclosed to Engelberg all of its

existing material contracts.

       12.     NY Center represents that it has disclosed to ACCJ all of its existing material

contracts.

       13.     Effective upon approval of the Stipulation by the Court, to the extent permitted by

law, all current and former employees, officers and directors of the ACCJ and NJ Center,

including Engelberg in his capacity as a former employee, officer and director of ACCJ, and

Engelberg and any others who hold or who have held a POA, shall be indemnified, defended and

held harmless by ACCJ from and against any current or future claims by ACCJ claimants and NJ

Center claimants or their families, and claims of Joshua Ambush in Ambush v. Engelberg, U.S.

District Court, District of Columbia, no. 15-cv-1237 (EGS), provided that such employee, officer

or director, or holder of a POA, provides an affidavit or affirmation that he has acted in good

faith within the scope of his authority. In any such action, Engelberg will have the right to select

his counsel; ACCJ will have the right to settle and will not be required to indemnify for

settlements that it has not approved. Encouraging a law suit against another party to this

settlement shall not be considered as “acting in good faith.” Notwithstanding the above, ACCJ

will not claim that Engelberg acted in bad faith or for any other reason is not entitled to

indemnification in Campuzano v. Sher, Nassau County Index No. 605379/2016, Salzman v. Sher,

U.S. District Court, Southern District of New York, no. 16-cv-0379 (KBF), and Ambush v.

Engelberg, supra; and Engelberg will not claim that Eliezer Perr, Milton Pollack, Neal Sher or

Jed Perr has acted in bad faith or for any other reason is not entitled to indemnification in any of

                                                   
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those actions. In the event of a settlement of the Campuzano case, ACCJ will fully fund such

settlement and obtain releases for all defendants, with no money contributed by Engelberg.

       14.     With respect to legal fees and expenses incurred by plaintiff Engelberg:

               a) ACCJ will reimburse Engelberg’s reasonable legal fees and expenses in

Campuzano v. Sher, Salzman v. Sher, and Ambush v. Engelberg. The amount will be subject to

approval of this Court.

               b) In connection with an application for approval of this Stipulation by the Court,

Engelberg will apply for an award of attorney’s fees and expenses pursuant to N-PCL § 623(e),

with respect to fees charged and expenses incurred by the following law firms or lawyers in

connection with this action, the Orlow Action, and the representation of Engelberg prior to the

institution of this action regarding the claims he has asserted herein: Cooley LLP; Mendel

Zilberberg & Associates; Wolf Law Group; Pearlman & Pearlman; Skadden Arps; Shveta Kakar

(Kakar Law); Davis Wright Tremaine; Schwartz & Associates; and Livingston Howe LLP.

               c) ACCJ will not object to the foregoing fee applications other than with respect

to the reasonableness of specific items of time charges and expenses. ACCJ will not claim that

Engelberg did not create a substantial benefit for ACCJ. ACCJ will not claim that Engelberg is

not entitled to recovery of fees due to compensation from other sources; provided, however, that

Engelberg will not obtain a double recovery, e.g., if he receives fee reimbursement via insurance.

Engelberg will not seek to recover any interest or similar late fees.

               d) Any attorneys’ fees and expenses awarded or approved by the Court for

Engelberg shall be payable by ACCJ to the Livingston Howe LLP IOLTA Account within ten

(10) business days following entry of an order approving the same.



                                                   
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       15.     In connection with an application for approval of this Stipulation by the Court,

counsel for ACCJ and defendants Eliezer Perr, Milton Pollack and Jedidiah Perr may apply to

the Court for payment by ACCJ of its and their attorney’s fees and expenses in the above-

referenced cases, and counsel for NJ Center may apply to the Court for payment by NJ Center of

its attorney’s fees and expenses in the above-referenced cases. Engelberg’s right to object to such

application(s) will be subject to the same standards and limitations as set forth above in the

preceding paragraph.

       16.     The parties agree to accept the legal fees and costs as awarded by the Court. The

parties will not appeal from such determination(s).

       17.     Effective upon approval of this Stipulation by the Court, Eliezer Perr, Milton

Pollack, Jedidiah Perr, Joseph Orlow, Simonne Beckeld, and Victoria Nolon, and their heirs,

executors, administrators, personal representatives, successors and assigns hereby release and

forever discharge Michael Engelberg and Mindy Engelberg, and their heirs, executors,

administrators, personal representatives, successors and assigns, and the NY Center, and its

directors, officers, shareholders/members, employees, representatives, agents, and their

respective heirs, executors, administrators, personal representatives, successors and assigns, from

all claims, actions, suits, damages, attorneys’ fees, costs, interest, judgments, and demands

whatsoever, which said Releasors ever had, now have or hereafter may have for, upon or by

reason of any matter, cause or thing whatsoever from the beginning of time to the date of such

Court approval of this Stipulation, except for a breach of this Stipulation; and they each covenant

never to institute, or to cause ACCJ or NJ Center to institute, or to participate (other than subject

to legal compulsion) in, any administrative proceeding, suit or action, at law or in equity, against



                                                   
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said Releasees by reason of any claim or allegation that was or could have been raised in this

action.

          18.   Effective upon approval of this Stipulation by the Court, Michael Engelberg and

Mindy Engelberg and their heirs, executors, administrators, personal representatives, successors

and assigns, hereby release and forever discharge Eliezer Perr, Milton Pollack, Jedidiah Perr, 

Joseph Orlow, Simonne Beckeld, and Victoria Nolon, and their heirs, executors, administrators,

personal representatives, successors and assigns, and ACCJ and NJ Center, and their respective

directors, officers, shareholders/members, employees, representatives, agents, and their

respective heirs, executors, administrators, personal representatives, successors and assigns, from

all claims, actions, suits, damages, attorneys’ fees, costs, interest, judgments, and demands

whatsoever, which said Releasors ever had, now have or hereafter may have for, upon or by

reason of any matter, cause or thing whatsoever from the beginning of time to the date of such

Court approval of this Stipulation, except for a breach of this Stipulation; and they each covenant

never to institute, or to cause the NY Center to institute, or to participate (other than subject to

legal compulsion) in, any administrative proceeding, suit or action, at law or in equity, against

said Releasees by reason of any claim or allegation that was or could have been raised in this

action.

          19.   Effective upon approval of this Stipulation by the Court, ACCJ, NJ Center and

NY Center and their respective directors, officers, shareholders/members, employees,

representatives, agents, and their respective heirs, executors, administrators, personal

representatives, successors and assigns, hereby release and forever discharge Michael Engelberg,

Mindy Engelberg, Eliezer Perr, Milton Pollack, Jedidiah Perr, Joseph Orlow, Simonne Beckeld,

and Victoria Nolon, and their heirs, executors, administrators, personal representatives,

                                                    
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successors and assigns, and the directors, officers, shareholders/members, employees,

representatives, agents of the ACCJ, NJ Center and NY Center, and their respective heirs,

executors, administrators, personal representatives, successors and assigns, from all claims,

actions, suits, damages, attorneys’ fees, costs, interest, judgments, and demands whatsoever,

which said Releasors ever had, now have or hereafter may have for, upon or by reason of any

matter, cause or thing whatsoever from the beginning of time to the date of such Court approval

of this Stipulation, except for a breach of this Stipulation; and they each covenant never to

institute, or to cause ACCJ or NJ Center to institute, or to participate (other than subject to legal

compulsion) in, any administrative proceeding, suit or action, at law or in equity, against said

Releasees by reason of any claim or allegation that was or could have been raised in this action.

       20.     Upon the execution of this Stipulation, the Parties shall promptly advise the Court

and OAG that the Stipulation has been made and shall be presented to the Court for approval, at

the Court's convenience, following OAG review. Subject to the provisions of Paragraph 2

above, the Parties and their respective counsel agree to cooperate with one another in good faith

in seeking the Court's approval of the Stipulation and to use their best efforts to resolve any

objections raised by the Court or OAG with respect to the Stipulation. Prior to the Court's

approval of the Stipulation, the Parties shall take no further steps to prosecute or defend this

Action or the Orlow Action, and all existing orders and directions of the Court shall remain in

effect. The parties shall cooperate, to a reasonable extent, in the defense of any other actions in

which they are named as defendants, will not continue with or seek affirmative discovery, and

shall withdraw any motions to amend pleadings to assert cross-claims against each other. The

Parties may agree to reasonable extensions of time to carry out any of the provisions of this

Stipulation to the extent that such deadlines have not been so-ordered by the Court.

                                                    
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       21.     Although the Parties continue to believe that their respective claims have legal

merit, and continue to deny that they have acted wrongfully, in violation of law, or in breach of

duty, they recognize that there are legal and factual defenses to their respective claims which

present substantial risks to the successful resolution of any litigation. The Parties wish to

eliminate the burden, inconvenience, expense, uncertainty and distraction of further litigation and

finally put to rest all claims that were or could have been asserted herein. The Parties further

agree that a settlement of this action presents an opportunity to confer substantial benefits upon

the entity parties and further their charitable missions, including the continuation and

development of their charitable and educational activities.

       22.     The Parties believe that the Stipulation is fair, reasonable, adequate, and is in the

best interests of the entity parties and the public interest, and that it is reasonable and appropriate

to seek approval of the Stipulation by the Court based upon the terms set forth herein and the

benefits and protections to be provided thereby.

       23.     The entry into this Stipulation is not an admission by any Party of wrongdoing,

fault or liability. Except as may have heretofore been adjudicated by the Court or admitted in

formal pleadings, no allegation of any party against another has been proven or admitted.

       24.     The existence of the Stipulation, its contents or any negotiations, statements or

proceedings in connection therewith, shall not be offered or admitted in evidence or referred to,

interpreted, construed, invoked or otherwise used by any person for any purpose, except as may

be necessary to effectuate the Stipulation. This provision shall remain in force in the event that

the Stipulation is terminated for any reason whatsoever. Notwithstanding the foregoing, any of

the Parties may file the Stipulation or any judgment or order of the Court related hereto in any

other action that may be brought against them, in order to support any and all defenses or

                                                    
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counterclaims based on res judicata, collateral estoppel, release, good-faith settlement, judgment

bar or reduction or any other theory of claim preclusion or issue preclusion or similar defense or

counterclaim.

       25.      Any failure by any party to insist upon the strict performance by any other party

of any of the provisions of this Stipulation shall not be deemed a waiver of any of the provisions

hereof, and such party, notwithstanding such failure, shall have the right thereafter to insist upon

the strict performance of any and all of the provisions of this Stipulation by such other party. No

waiver, express or implied, by any party of any breach or default in the performance by the other

party of its obligations under this Stipulation shall be deemed or construed to be a waiver of any

other breach, whether prior, subsequent, or contemporaneous, under this Stipulation.

       26.      Each of the persons entering into this Stipulation, or executing this Stipulation on

behalf of an entity, represents and warrants that he or she has the legal capacity to do so and/or

has been duly authorized to do so as his, her or its lawful and binding act.

       27.      This Stipulation is, and shall be, binding upon, and inure to the benefit of, the

Parties and their respective agents, executors, administrators, heirs, successors and assigns;

provided, however, that no Party shall assign or delegate its rights or responsibilities under this

Stipulation without the prior written consent of the other Parties.

       28.      This Stipulation, and any dispute arising out of or relating in any way to this

Stipulation, whether in contract, tort or otherwise, shall be governed by and construed in

accordance with the laws of the State of New York, without regard to conflict-of-laws principles.

       29.      In the event of any suit, action or proceeding arising out of or relating to this

Stipulation, each of the Parties:



                                                    
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       a)      irrevocably submits to the personal jurisdiction of the Supreme Court of
               the State of New York, Nassau County, in any such suit, action or
               proceeding;

       b)      agrees that all claims in respect of such suit, action or proceeding shall be
               brought, heard and determined exclusively in such Court (provided that, in
               the event that subject-matter jurisdiction is unavailable in such Court, then
               all such claims shall be brought, heard and determined exclusively in any
               state or federal court in Nassau County);

       c)      agrees that it shall not attempt to deny or defeat such personal jurisdiction
               by motion or other request for leave from such court;

       d)      agrees not to bring any action or proceeding arising out of or relating to
               this Stipulation in any other court;

       e)      EXPRESSLY WAIVES THE RIGHT TO A JURY TRIAL AND
               AGREES NOT TO PLEAD OR TO MAKE ANY CLAIM THAT ANY
               SUCH ACTION OR PROCEEDING IS SUBJECT (IN WHOLE OR IN
               PART) TO A JURY TRIAL;

       f)      waives any defense of inconvenient forum to the maintenance of any
               action or proceeding brought in accordance with this paragraph;

       g)      waives any bond, surety or other security that might be required of any
               other Party with respect to any such action or proceeding, including an
               appeal thereof; and

       h)      consents and agrees that process in any such suit, action or proceeding
               may be served on such Party by certified mail, return receipt requested,
               addressed to such Party or such Party’s registered agent in the state of its
               incorporation or organization, or in any other manner provided by law.

       30.     Each Party represents and warrants that the party has made such investigation of

the facts pertaining to this Stipulation, and all of the matters pertaining thereto, as the party

deems necessary and advisable.

       31.     This Stipulation and any other agreements or undertakings specifically described

herein constitute the entire agreement among the Parties with respect to the subject matter hereof

and supersede all prior or contemporaneous oral or written agreements, understandings or

representations.

                                                    
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       32.     This Stipulation will be deemed to have been mutually prepared by the Parties

and will not be construed against any of them by reason of authorship. Section titles have been

inserted for convenience only and will not be used in construing the terms of this Stipulation.

       33.     The terms and provisions of this Stipulation are intended solely for the benefit of

the Parties, and their respective successors and permitted assigns, and it is not the intention of the

Parties to confer third-party beneficiary rights or remedies upon any other person or entity,

except with respect to any attorneys’ fees and expenses to be paid to counsel pursuant to the

terms of this Stipulation.

       34.     This Stipulation may not be amended, changed, waived, discharged or terminated

(except as explicitly provided herein), in whole or in part, except by an instrument in writing

signed by the parties to this Stipulation. Any such written instrument signed by the Parties to

this Stipulation shall be effective upon approval of the Court.

       35.     This Stipulation may be executed in any number of counterparts and by each of

the different parties on several counterparts, each of which when so executed and delivered will

be an original. Such counterparts may be actual signed copies, or images of signed copies that

have been transmitted by e-mail or fax. This Stipulation will become effective when

counterparts have been signed by each of the parties to this Stipulation and delivered to the other

parties. The executed signature page(s) from each counterpart may be joined together and

attached and will constitute one and the same instrument.

                             [Remainder of page intentionally left blank]




                                                    
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